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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                                  12/29/2020
JOSE MOLINA, et al.,                                      :
                                                          :
                                        Plaintiffs,       :
                                                          :              18-cv-12225 (VSB)
                      -against-                           :
                                                          :                    ORDER
            TH
GLAZE 4 AVE LLC, et al.,                                  :
                                                          :
                                        Defendants. :
                                                          :
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VERNON S. BRODERICK, United States District Judge:

        I am in receipt of the parties’ December 29, 2020 joint letter filed in the above-captioned

case. (Doc. 67.) Accordingly, it is hereby:

        ORDERED that the parties shall complete Defendants’ depositions on or before January

29, 2021.

        IT IS FURTHER ORDERED that the parties shall appear for a telephonic status

conference on January 12, 2021 at 12 PM to discuss the other issues raised in the parties’ joint

letter. (Doc. 67.) The dial-in number is 888-363-4749 and the access code is 2682448.

SO ORDERED.

Dated: December 29, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
